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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            STATESBORO DIVISION

 JOHNIE MINCEY,                              )
                                             )
      Plaintiff,                             )
                                             )
 v.                                          )        Case No. _________________
                                             )
 THE GREEN TOAD LLC; GOT                     )
 HEMP THE GREEN TOAD FAMR                    )
 DISPENSARY LIMITED                          )
 LIABILITY COMPANY; AND MR.                  )
 REGINALD L. REESE, IN HIS                   )
 INDIVIDUAL CAPACITY,                        )
                                             )
      Defendants.                            )

                      PLAINTIFF’S ORIGINAL COMPLAINT

        Now comes Plaintiff Johnie Mincey, by and through counsel, and for his

Complaint against Defendants The Green TOad LLC; Got Hemp The Green Toad

Farm Dispensary Limited Liability Company; and Mr. Reginald L. Reese, in his

individual capacity (hereinafter “Defendants”) states and alleges as follows:

                         PRELIMINARY STATEMENT

          1. Plaintiff brings this lawsuit to remedy Defendants’ violation of the Fair

Labor Standards Act (“FLSA”) to recover from the Defendants unpaid minimum

wages and overtime compensation, as well as an additional amount as liquidated

damages, costs, and reasonable attorney's fees under the provisions of 29 U.S.C.

§201 et seq., and specifically under the provisions of 29 U.S.C. §§206, 207.

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                                 THE PARTIES

        2. At all times relevant, Plaintiff Mincey was a citizen of the United States

and a resident of Tattnall County, Georgia.

        3. At all times relevant herein, Plaintiff was an employee within the

meaning of 29 U.S.C. § 203(e).

        4. Defendant The Green TOad LLC is a domestic limited liability

company licensed to do business in Georgia and may be served by delivering a

copy of this Complaint to Defendant’s Registered Agent for Service of Process

Reginald L. Reese at 8344 Mckenzie Pl, Lithonia, GA, 30058.

        5. Defendant Got Hemp The Green Toad Farm Dispensary Limited

Liability Company is a domestic limited liability company licensed to do business

in Georgia and may be served by delivering a copy of this Complaint to

Defendant’s Registered Agent for Service of Process Reginald L. Reese at 487

Cannady Road, Metter, GA, 30439.

        6. Defendant Reginald L. Reese (“Defendant Reese”) is a resident of

Dekalb County, Georgia and may be served by delivering a copy of this

Complaint to Defendant Reginald L. Reese residence at 8344 Mckenzie Pl,

Lithonia, GA, 30058. Defendant Reese is the Chief Executive Officer of

Defendant Got Hemp The Green Toad Farm Dispensary Limited Liability

Company and Defendant The Green TOad LLC and at all times relevant herein,


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Defendant Reese exercised daily operational control over the business operations

of Defendants, including, but not limited to exercising control and discretion

regarding employment decisions, scheduling employees for work, establishing and

managing payroll policies and procedures involving overtime pay, establishing

rates of compensation for individual employees, controlling expenditures of

company funds, and issuing payroll to employees.

        7. At all times relevant herein, Defendants were and are an enterprise

engaged in commerce or in the production of goods for commerce within the

meaning of 29 U.S.C. § 203(s)(1). At all times pertinent to this Complaint,

Defendants operated as an organization which sells and/or markets its services

and/or goods to customers from throughout the United States and also provides its

services for goods sold and transported from across state lines of numerous other

states, and Defendants obtain and solicit funds from non-Georgia sources, accept

funds from non-Georgia sources, use telephonic transmissions going over state

lines to do its business, transmit funds outside the State of Georgia, and otherwise

regularly engages in interstate commerce.

        8. The annual gross revenue of the Defendants is at all times material

hereto in excess of $500.000.00 per annum, and/or Plaintiff, by virtue of working

in interstate commerce, otherwise satisfies the FLSA's requirements. In




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performing his duties for Defendants, Plaintiff used goods and products that had

been moved or produced in interstate commerce.

        9. At all times relevant herein, Defendants were and are an employer

within the meaning of 29 U.S.C. § 203(d).

        10. Defendants are subject to the FLSA, 29 U.S.C. §204 and §207.

                                     FACTS

        11. Plaintiff was employed by Defendants with his last term of

employment for purposes of this lawsuit from at least June 19, 2020 until

December 12, 2020 (''Covered Period'').

        12. Defendant mis-classified Plaintiff as an exempt salaried employee

who was ineligible to receive overtime pay at a rate of time and one-half (1.5) for

hours worked over forty (40) per week.

        13. Plaintiff was only paid $350.00 per week based on a regular rate of

$10.00 per hour and 35 hours per week but was suffered or permitted to work

many more hours than that without being paid for the additional hours worked.

        14. Plaintiff kept track of his daily hours worked from the week ending

August 28, 2020 through October 9, 2020 and from November 27, 2020 through

December 11, 2020, but not from October 10, 2020 through November 26, 2020.

        15. The week ending August 28, 2020, Plaintiff worked 47 hours. Plaintiff

was not compensated for the additional hours worked.




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        16. The week ending September 6, 2020, Plaintiff worked 56.23 hours.

Plaintiff was not compensated for the additional hours worked.

        17. The week ending September 13, 2020, Plaintiff worked 48.20 hours.

Plaintiff was not compensated for the additional hours worked.

        18. The week ending September 18, 2020, Plaintiff worked 59 hours.

Plaintiff was not compensated for the additional hours worked.

        19.The week ending September 25, 2020, Plaintiff worked 55 hours.

Plaintiff was not compensated for the additional hours worked.

        20.The week ending October 2, 2020, Plaintiff worked 50.5 hours.

Plaintiff was not compensated for the additional hours worked.

        21.The week ending October 9, 2020, Plaintiff worked 48 hours. Plaintiff

was not compensated for the additional hours worked.

        22. The week ending November 27, 2020, Plaintiff worked 53.5 hours.

Plaintiff was not compensated for the additional hours worked.

        23.The week ending December 4, 2020, Plaintiff worked 59 hours.

Plaintiff was not compensated for the additional hours worked.

        24.The week ending December 11, 2020, Plaintiff worked 59.5 hours.

Plaintiff was not compensated for the additional hours worked.

        25.For the weeks where Plaintiff does not have records regarding his daily

hours worked (October 10, 2020 through November 26, 2020), Plaintiff utilizes

the average number of hours worked where records do exist to arrive at an

estimate of 53.6 hours on average per week.

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        26. In his capacity, Plaintiff spent a vast majority of his worktime

performing non-exempt manual labor duties such as performing general

maintenance tasks in fixing the dispensary, office, and warehouse. Plaintiff also

pulled weeds; mowed grass; watered and fertilized plants; dried the crop; and fed

animals. Plaintiff also fixed equipment and mended fences on the property.

        27. Plaintiff was a non-exempt employee.

        28. Defendants did not pay him for all of his hours worked (minimum

wage and overtime). Plaintiff was denied minimum wage and overtime pay.

                COUNT I - FAIR LABOR STANDARDS ACT
                   (FLSA Minimum Wage Violations)

        29. Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

        30. Plaintiff was not paid the minimum wage, contrary to the provisions

of Section 6(a) of the FLSA (29 U.S.C. § 206(a)).

        31. Defendants willfully and intentionally failed to pay Plaintiff the

statutory minimum wage as required by the laws of the United States as set forth

above and remains owing him back wages.

        32. As a result of the under-payments of wages alleged above, Defendants

are indebted to Plaintiff in the amount of the unpaid minimum wage

compensation.

                COUNT II - FAIR LABOR STANDARDS ACT
                       (FLSA Overtime Violations)

        33. Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

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        34. At all times material hereto, Defendants failed to comply with the

FLSA in that Plaintiff performed services and worked in excess of the maximum

hours provided by the FLSA, but no provision was made by the Defendants to

properly pay Plaintiff at the rate of time and one-half for all hours worked in

excess of forty (40) per workweek as provided in the FLSA.

        35. Defendants violated the FLSA, 29 U.S.C. §207, by failing to pay

overtime wages for time that Plaintiff worked in excess of forty (40) hours in

given workweeks.

        36. Defendants have engaged in a series of unlawful acts, practices,

policies, and procedures in violation of the FLSA, including refusing and/or

failing to calculate and pay Plaintiff overtime wages as required by federal law.

        37. By engaging in these practices, Defendants willfully violated the

FLSA and regulations thereunder that have the force of law.

        38. Defendants knew or showed reckless disregard for its actions,

policies, and/or omissions violated the FLSA.

        39. Defendants’ unlawful conduct directly and proximately caused

Plaintiff to suffer damages for which he is entitled to judgment.




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                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that judgment be entered in his favor

awarding the following relief:

        A. Enter judgment awarding Plaintiff all unpaid wages pursuant to the

FLSA, 29 U.S.C. §207, FLSA § 6, 29 U.S.C. § 206(d); all overtime compensation

for all hours worked over forty (40) in a workweek at the applicable time and a

half rate; an equal amount of liquidated damages as the unpaid wages and

overtime compensation as provided by 29 U.S.C. §216; pre-judgment interest

pursuant to 29 U.S.C. §216; and costs, expert witness fees, and reasonable

attorneys’ fees as provided by 29 U.S.C. §216, and all other remedies allowed

under the FLSA; and

        B. Award Plaintiff such further and additional relief as may be just and

appropriate.

               Respectfully submitted the 9th day of July, 2021.


                                        CHARLES HERMAN LAW

                                        /s/ Charles Herman
                                        Charles Herman
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